                       Case 1:19-cr-10010-MLW Document 1 Filed 12/03/18 Page 1 of 1
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                                                                 IRUWKH
                                                      District of Massachusetts
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                  8QLWHG6WDWHVRI$PHULFD
                             Y

                                                                            &DVH1R PM'/&
                        %ULDQ 2UODQGHOOD


                            Defendant(s)


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          ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                 0D\  WR 0D\            LQWKHFRXQW\RI               (VVH[         LQWKH
                        'LVWULFWRI         0DVVDFKXVHWWV       WKHGHIHQGDQW V YLRODWHG

             Code Section                                                     Offense Description
 86&   D DQG H                        VH[XDO H[SORLWDWLRQ RI FKLOGUHQ
 86&                                   WUDQVIHU RI REVFHQH PDWHULDO WR PLQRU




          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
3OHDVH VHH WKH DIILGDYLW RI +6, 6SHFLDO $JHQW -RVHSK ,DQQDFFRQH ZKLFK LV DWWDFKHG KHUHWR DQG LQFRUSRUDWHG E\
UHIHUHQFH




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u


                                                                                               Complainant’s signature

                                                                                    -RVHSK ,DQQDFFRQH 6SHFLDO $JHQW +6,
                                                                                                Printed name and title

6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH


'DWH             
                                                                                                  Judge’s signature

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                                                                                                Printed name and title
